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                  IN   THE    DISTRICT       COURT       OF THE   NINETEENTH


   .2        JDDICThL         DISTRICT       FOR    THE    STATE OF MONTANA


                       IN AND    FOR       THE    COUNTY    OF LINCOLN



        ROBERT    NELSON and NETTlE
        JE7N NELSON   husband and wife                       Cause    No   DV-98-107


                       Plaintiffs

             vs

             GRACE           CO -Conn
        Connecticut      corporation              and
        DOES I-IV


  10                   Defendants

  ii


  12


  13                             DEPOSITION
  14                                              OF


  15                                 ROBERT            NELSON


  16                     On     Behalf       of    the    Defendant


  17


  18


  19                         Taken    at    the Law       Offices    of

             McGarvey          Heberling    Sullivan and Mcarvey
  20                                745 Main Street
                                 ICalispell Montana
  21                         Thursday   December     1999
                                            900 a.m
  22


  23


  24
           Reported by Debra                     Hednian RPR RNR and Notary
  25       Public for the State                  of Montana Flatheaxl County
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                       Yes

                       Also      if    you     would       wait    until         after


       finish my question               before you           begin       your answer

       likewise      that      will     help       Deb     take    down      everything


       correctly       and you         and         wont      be talking            at the same


       time       Okay

                       Yes

                       Finally and probably most important

       Mr     Nelson      --   or Bob          you    and         need      to    communicate


 10    with   one    another            P.nd    so   please        dont             bashful

 11    If   you   dont         completely          understand               question      that


 12    Im asking           go ahead          and     tell    me    that           Ill

 13    rephrase      it    or otherwise              change       it   so    that .you      do

 14    undestand          it    so    that     you    and         are confident           that


 15    youre      answering           the question           thats          being    asked

 16    Okay

 17                    Yes

 18                    Bob       how    would you           generally            describe   your


 19    health     as you       sit     here     today

 20                    oh      except        for being        short of            breath    Im

 21    in good      health              just --             cant       breathe       rwa.lk


 22    or anything         like       that

 23                    Okay           And    when     did    you       first start


 24    noticing      having          shortness        of    breath       problems

 25                    About         three     or four       years ago              We   went
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       fishing              was    supposed           to    catch       up to      them and


       couldnt.               just      --    7iid         never      noticed       it   before

       that because               was    working           all    the    time and


                       nd at that              time         what      did    you    attribute


       that    shortness of             breath        to         Znything

                       No          just thought                   was    getting         old

                       Had    you       gained        any    weight         or anything         like


       that

                       No         Not   at     that time              no

 10                    How    about          your past           smoking           Did you

 11    think    that    the smoking had anything                            to    do with      it

 12                         hadnt        smoked        for quite                 while

 13      think    in    93        is    the last           time         ever      had


 14    cigarette

 15                    So    you       didnt         think       it   was    the    past

 16    smoking that          had started              causing         the    shortness         of


 17    breath

 18                .No             never       smoked        that much


 19                    When       you   say     that        ou suffer               shortness

 20    of breath        is    that            continual           thing all day            or only


       when    youre        active

 22                    Well        when      you      do anything                   mean       even


 23            to the        bathroom           in the back                        get    --
       going                                                                you                you

 24    cant    walk     very       far

 25                    Has    it     gotten          progressively               worse over         the
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       last    three    or four years


                       Oh      yeah      Yes     sir

                       Bob      could    you    put       some    kind of


       framework       on that            mean        has    it    gotten       twice    as


       bad     three    times as        bad    over       the last three            or four


       year
                            think     it has    gotten       at.least          twice    as


       bad in the last three years

                       Are you       working     anymore           Bob

 10                    No      sir

 11                    Are you       retired

 12                    Yes      sir

 13                    How     come you       retired

 14                       couldnt        breathe          any more


 15                    And    what     were    you    doing

 16                       was        tenant     on         transfer       station       where


 17    they dump       their garage            picked       it    upand        hauled    it


 18    out    to   the main        landfill


 19                    Arid   what        What       does         tenant       do

 20                    Just make        sure that they get                it    in the


 21    right dumpsters             and they     dont        get    it   on the ground


 22    and they     dont        throw    stuff       in    there    that       they    are


 23    not    supposed        to

 24                    Does     it   require much           manual      labor

 25                    No     it     just -- You          just copy       down      their
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                                                                                                          11




                          There is nothing                 around          there       that you


        wouldnt       have       to    drive             hundred       miles two             ways


        every       day    so    you        just          if    you    went       to    look for


             job    you    would more              than    likely have             to    walk up

        and down      steps and stuff like                       that and that                just


        dont--

                          But have          you     looked       for anything                 Bob

                          No          have     had some          jobs offered                me     but


        it    was   nothing          that         could        do

  10                      What       types of        jobs       were       offered       to you

                          Driving            truck        and    running          front-end


  12    loaders      and       stuff

  13                      Why    do you        think       you      couldnt            drive truck


  14                      For one           thing    its quite                   bit    of    manual


  15    labor and         turning your arms and                       --    You    just dont


  16    sit    there             lot    of    people           think       you    do     but you


  17   dbnt

  18                      Would       your answer              be true with             regard       to.



  19    front-end         loader

  20                      Oh yeah             it weuld          be more          ona     front-end


  21   loader         Youre           busy all the              time in            front-end


  22   loader

  23                      So    if    youre         in         sedentary          position           Bob

 24    and     youre       just moving              your arms and feet                       that


  25   causes       you    shortness           of    breath         also
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                                                                                                  12




                        .Yes       sir

                        Is     there      any       particular time              of the day


        Bob     that    your shortness                of       breath     seems to     be worse

        than    others

                        No     it       doesnt make              any     difference


                        noes       it          It    just       gets     worse with

        increase of          activity

                        Right

                        But    like        as       you    sit    here right         now    Bob

  10   youre      not    doing          anything           youre sitting             in


  11   chair      do you       have            shortness of              breath problem


  12                         did    when            first sat           down   and   its

  13   getting to        be all right                now

  14                    So    if    ydu    had       been sitting              for    while

  15   you     dont     feel       any    kind       of problem with             shortness     of


  16   breath

  17                    Not    as       long    as    youre        not     doing     anything

 .18                    Do    you       exercise          at    all
 19                     Not    anymore

 20                     When       is the last             time    you     had       regular

 21    exercise        type program             that you          did

 22                     Oh     when            was    working           for Morrison

 23    Knutson out           there       at the mine

 24                     What       did    you       do then

 25                          walked       quite            bit
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                          Since       five or six years ago                         when    you


        performed         that       miracle         mechanic           work        Bob     any    other


        vehicles         you     worked        on besides              your Jeep           your

        wifes       77 LTD            your tnbbile               home

                          No        Idont           remember           if-- If        there       was

        dont       --    My    friend         has    got an Internatipnal                    Scout

        but   it    usually          rims      pretty        good            We    ha4 to    change

        the oil         and stuff like that                      in    it but        other    than

        that       its just

 10                       Okay           So    Bob         you    havent           worked


 11     extensively            on cars         for about              five    or    six years


 12                       No        no

 13                       Bob        besides         the dancing                  fishing

 14    .hunting          and working            on cars               anything       else that you


 15    used    to do that you                  cant         do    now

 16                       No          just      --          used       to be         pretty       fair


 17    carpenter              but        havent            did    that       for years            In


 18   ..fact1           never       liked     doing         it    so         dont     even jnentin

 19    it          just        --


 20                       Okay           Bob        when     did       you    work    at    the

 21    Zonolith          mine

 22                       When      or where


 23                       When

 24                       When           Boy        that     is       something            dont

 25    remember          too much         about       that        --    thats        --      dont
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       remember          the dates            They    got    it wrbte       down    --



                          Okay

                          --    at the office


                          Okay         Do    you    remember      who     hired    you

                          God          should         No     sir          dont     remember


       who    it    was

                          Do    you    remember       who    your supervisor             was


       when    you       first started             there

                               think    his name       was       Care

 10                       Care

 11                       Yeah              dot remember any more what                     his


 12    first name          was         God     that    was         long    time    ago         No

 13      dont                  rethember      when         got   up into     the mine


 14    part        i.t   was    Pappy       Welch    was    the foreman       up there


 2.5                      Pappy       Welch

 16                       Yeah        that was       what    he --         dont     remember


 17    what    his first name                was     but everybody          called       him


 18    Pappy                    ..
 19                       Was    that         different          person    than    Shorty


 20    Welch

 21                       Yeah        Shorty Welch          worked      in the


 22    warehouse

 23                       But    Pappy Welch          wasnt        your initial

 24    supervisor

 25                       No until             got up in          the mine
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                                                                                                      45


                       Where       did    you       work    at    first

                       Clean-up          down       on the       construction             part

       ofit

                       That       wasnt        in    the    dry mill

                      .A    lot    of    it    was    in the          dry mill and very

       little in the wet                mill because             it    never       got very


       many    spiiis in there

                       So you       would       go    in and clean                up the

       spills

 10                    Yes        sir

 11                    Do    you    remember          who    you       worked          with    when

 12           were    working       the clean-up             with       construction


 13                    Oh man            there       was    so    many       of    them       that


 14   it was     --         dont remember                        just--           It    was        lot


 15    of    people    that worked             there

 16                    And    were       you    working          up there          full-time

 17                    Yeah        when         first       started          it    was


 18    full-time and          then            guess they          laid me          off    --...I




 19    guess         That was            long time ago

 20                    You    dont        remember          getting          laid       off

 21                               I-
 22                    Do    you    rmŁmher                 Well        never          mind        When


 23    you    were    working       on the clean-up                   crew    up there             with


 24    construction           did       youever        wear            respirator

 25                    No     hu-huh
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                        Did    you       ever       see       anyone       else    wear


        respirator

                             dont        remember             ever    seeing       one

                        Do you ever remember                         seeing         respirator

        at    any    time up there


                        No     sir

                              at    the mine or the                   mill

                        No              dont              It    just       --


                        Do    you       remember              Bob     any       other    jobs    you

  10    had    up there

  11                    Yeah             worked          in the       test       labS


  12                    What       did    you       do    in    the       test    lab

  13                    Once       evexy hour             you       would go       around and


  14    you    had      bunch       of trays that                   was    about    this big


  15    around       indicating                about          eight inches              and you       go

        around       to different             places          in the       dry mill and in

  17    the    wet    mill and you             picked          up    samples and then             you

  18    take    them back          to    the lab


  19                           you       bad    to run teats                on    them         nd you
  20    stick       them in    these          big    burners              you    know     and they

  21    would       dry them       out and pop                the    ore    and    see    how    much


  22    percentage       that was             getting          from the          ore      If    you

  23    were    lucky        the intercom-worked                      and you       called       the


  24    dry mill and          the       wet    mill and you                told    them how       to


  25    set    their machines                  nd        if    that       wasnt     working
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        then    you had           to    run back          over       there    and tell them


                            How    long       did    you       work     in the      test    mill


        or test        lab         Im sorry
                                 think       they    sent             about       four    and


        half         five    months.                dont        know

                            When       you    were       with.the         clean-up        crew    in


        construction               did       you    work       around         lot of       dust

                            Well        yeah        if    you was         outside        or inside


        up there        it       was    dusty

  10                        Where       was    it    most dusty              would you          say

  11                        Around       the dry mill


  12                        Would       that be in             the    dry    mill

  13                        Yeah         Yes        sir

  14                        Did    you       ever    have       trouble breathing                in the


  15    dry mill because                 of the dust


  16                             dont        remember            That       just    --   Hell

  1-7   was    in pretty           good       shape       and         just    --         dont     think


  18    it    bothered           me     but    they never said anything                         about


  19    it     so---


  20                        You    dont        remember          any      discussion        amongst

  21    any    of the        employees             about       the    dust

  22                        Oh     everybody             was    always       hollering          about


  23    it    when    you        had    to    go work          in    it     but    there    was

  24    never    anything              done    about       it         Just the       hollering

  25                        Do    you    ever       recall           Bob     complaining          about
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        it    that    was       going     to    hurt       you

                           Okay         1nd you           never    asked    anybody       about


        that

                                figured        if    it    was    something       that was


   .5   going       to kill       me    eentua11y                  would think         spuiebody


        would have          said something                 about    it       thought


 .7     Otherwise               would have           damn    sure not       been up there


                           Do    you    ever        remember       having         chest   x-ray


  .9    taken       when    you    were        up there           Bob

  10                            know         was     supposed       to    have      chest

  11    x-ray       taken       when         went     to work       up there        but    Im
  12    sure         didnt             nd then              think    it was       after that


  13    that    they       send         bunch        of us down          to the    hospital       to


  1.4   have    chest       x-rays           but          dont kno         whatever       they


  15    did    with    them

  16                       Did    you ever           ask    anybody       why you      were


  17    having       your chest           x-rayed

  18                       Oh yeah

  19                       Who    did you           ask

  20                       The    doctor            for one thing

  21                       What    did       the doctor           tell    you

  22                       Well        they just                 they require it.

  23    We    got    two    hours       off     and we       went    and drankbeer

  24                       Did    you ask           why    they    required       it

  25                       Yeah        but     they          You    knw      they      just said
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                                                                                                        50




        it was       required       and      that was          the    end of       it             dont

        even    remember         who    the doctor was                that    authorized               it


        because       he had      to go to th                 hospital       to have         it


        done

                           Did          ask     the doctor why               it    was
                                 you

        required

                          Oh     yeah

                          .1nd   the doctor           never told         you either

                          No      He    said     it      was    required          and    that      as

  10    it

  ii                      Did    you    ever     ask anybody            with       W.R       Grace


  12    or with       the predecessor               company

  13                      No        dont                  dont        remember            Only

  14    time    of    year you         ever     talk to         anybody       like       that          if



  L5    you    were       into   the office           to.pick         up your check               or


  16    something           and you       had    to      go    into    downtown          and

  17                         grabbed         that when you             come       through         the
        usually you

  18    door and          out you      went

  19                      Ninty     percent         of    the    time the          check      was


  20    always       --   you    know        when     you      got    ready       to go on the


  21    bus     they      always       had    them down          there

  22                      Okay         Did    you     ever      see     Bob        anyone         from


  23    the    State      there     to investigate               the    mine

  24                      Never     did      that         ever       remember           no

  25                      Did    you    ever     see any         constrution              or other
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        work    performed         up    there    in an effort to             reduce       the


        dust    conditions

                          Not at       that time        no

                          Did    you    ever    hear    of    anyone      getting sick

        becauseof          the    dust

                          No       never               never       paid   any attention


        to that             just --


                          Okay         You   used     to take       the   bus.up     there

                          Yes

  10                      And    the bus       home

  11                      Yes      Down      to the     parking       lot    in   town

  12                      And    you    dont     recall       any    of   the     employees

  13    ever    talking         about    anybody       getting       sick    up   there


  14    because      of    the    dust

  15                      Mo       dont        recall    anybody          saying anything


  16    about       it

  17                      You    knew    Shorty       Welch

  18                      Yes     sir

  19                      Did    you    know    that    he    was    suffering       from


  20    lung    problems         when    you    were    working       up there

  21                               didnt               never       associated       with    him


  22    that    much             think he worked             warehouse


  23                      What    else did       you    do    up    there Bob

  24                      Oh       was         dump    man    and    then         drove


  25    Euc    up   there
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                                                                                                     52




                          How    long were       you         dump    man

                               dont remember            but    it    was     --    it    wasnt

       very       long    until       they was          they was          always

        shorthanded            on the Eucs         They just put me                 on          --



        They found         9utI        could    drive         Euc    and so        they     stuck


       me    in    that

                          was    there    much    dut        in your work           as          Euc


       driver

                          Oh yes          specia1ly ifit                  hadnt         rained


  10    for        while

  11                      Was    that    mostly    at    the    transfer           points

  12                      Well        whenever    they load you             and whenever


  13   you    dump       and driving       up and down          the roads


  14                      Bob     was    the    dust    ever    so    bad        that    you


  15   used         handkerchief          or anything          to    put    over        your

  16   mouth       and ziose


  17                           dont     think    so      Some of          ihem Eucs             they


  18   had windows             that you    could       shut    them       aiid



  19                      How    about    when    you    were       working        up in

  20   clean-up          with    construction          inthe        dry    mill          raid    you

 21    ever       have    to    put    anything    over your mouth

 22                       No     you    just    went    in    there       and you        got it


 23    done       and got the hell             out of    there        and thats             --


 24    but         dont        remember    ever    putting          no handkerchief                  or


 25    anything          over    my    face
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                                                                                                           53




                           Did     you    ever       have       trouble       seeing         in     the


        dry mill because                 of    the    dust

                           leali         Especially             in    the    top floor of                the


        dry mill            You      were      .ucky       if    you    co.uld        find          light

        bulb    up there             when      it    was    on

                           Earlier            Bob          think you          said that             some


        of   the guys would               talk amongst                themse.ves            abot         the


        dusty conditions                      They    were       complaining               about     it

       when     they       were      going      to have          to    work      in    those         is


  10    that right

  12                       No     if     they       said    something            about       it     being

  12   dusty           never       heard        them        but they          --           dont

  13   rerneniber      anybody           ever       talking          about    dust           Yust that


  14   they     --    It    was    dusty and you                 just       had to         work     in    it

  15   nd      that    was


  16                       Where       did     you    eat       1unh

  17                       Well        when          was    in clean-up               we    used     tO


  18   eat lunch           in the lunch              room but any                o..ther     tjti        I.

  19   always        ate    lunch        wherever          my job       was

  20                       7-nd   you     never       saw       any    respirators                gz-g
  21   from nails           in the        lunch       room

  22                       No          dont         remember          that         They might

  23   have    been         but         never        seen       them

 .24                       Okay

 25                           sure      didnt              The       only    thing           remembex
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                                                                                                        60




                           From       Dr     Whitehouse


                           Pnd    why       did you       go     see.Dr        Whitehouse

                           Well       because        my chest           hurt and            was    so


        short of          breath            couldnt         do   nothing        and         didnt

        think         had it          and      just              Well          talked       to Roger


        down     there           He   wanted        me    to     be      witness       for


        somebody               Pndhe        said     if          had     you    know        some       --



        thought            had something             like that            that maybe

        should       go see

  10                       No         dont         believe       he said that               but


  11    think       my sister-in-law                said          should       go see

  12    Whitehouse               Everybody          was    going       over     to    him         He


  13    was    an    --    an ex       -- whatever             you     call    that         He    was

  14    entitled          to    ell you that                   nd we went            over    to his


  15    office       and they         took     chest       x-rays         and he said


  16    Yeah        you    got    it         You    got it in both              lungs

  17                       You    mentioned          that        your chest          hurt

  18                       Yeah       when     you       cough        boy      it    just felt

  19    like     somebody was               squashing          you

  20                       So    it   wasnt              steady       ache      it    was    just

  23    when    you       cough

  22                       Just when          you    cough             lot

  23                       So your          sister is          the    one who        recommended


  24    that you          go talk       to    Dr Whitehouse
  25                       Sister-in-law
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                               Sister-in-law

                               Yeah

                               Who    is    her husband


                               My    brother            He    has     passed      away     now

                   .Q          What       was    his    name

                               Phillip

                               So    you    traveled          all     the   way    up to     Spokane

        from %rizona                .to    see    Dr     Whitehouse


                               Yeah        we    was    going       to-Forks         Washington

  10    so    we        made    an appointment                to    stop    and see him on           the


        way    over

  12                           Did    you       ever    consider         seeing

  13    pulmonologist                 in Phoenix


  14                                dont        even    know       one

  15                           How    much       time    passed        between       the


  16    conversation                 with       your    sister where           she    recommended

  17    you    go see           Dr        Whitehouse          and then       actually        getting

  18    up    to        Spokane       to    see    him
  19                           oh          dont know                Probably          week    and


  20    half

  21                           Prior to seeing                Dr      Whitehouse           had you


  22    all    ready           talked       to    Roger       about      possibly being

  23    witness

  24                           Oh yeah             Yes

  25                           How    many       times       have     you   seen
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        Dr Whitehouse

                          Three

                          Three       times in the .last               three years


                          No     four times          in the       last    three years


        Four       times yeah                 just seen          him      week    ago       --    or

        last -- just the               week    before       we    got    here

                          Okay         When    you    last saw          him what        did


        he    --    did   hetell        you    that       your condition          is    getting


        worse        better       same

  10                      Exact words          he said           Its     not getting             any

        better

  12                      Did    he    say    its     getting       aiy worse

  13                      Yeah

  14                      He    did     just last week

  15                      Yep

  16                      Jnd    is    that    when       he told you          that he


  17    thought       ou had          five    to    ten years to          live

  18                      Yeh           think       that was       in    the    report he

  19    was    --   he had out          there

  20                      Have    you    read       his    reports

  21                      NoI-
  22                      So    you   dont         recall    him ever          telling you

  23    five    to ten years

  24                      No          think         read    it   on his desk           or

  25   something               Im not        too    sure          dont         remeniber
